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                                                    U.S. Department of Justice
                                                    United States Attorney
                                                    District of Maryland

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                                                        March 11, 2020

The Honorable Ellen L. Hollander
United States District Judge
U.S. Courthouse
101 W. Lombard St.
Baltimore, MD 21201

           RE:        United States v. Keon White
                      Crim No.: ELH-19-00286

Dear Judge Hollander:

        I write to respond to the recent sentencing memorandum filed by Keon White on March 9,
2020. Because this case involves a C-plea, and both parties recommend the same sentence, there
is no need to resolve the issues raised in White’s memorandum. See Fed. R. Crim. P. 32(i)(3)(B).
Nevertheless, the government agrees that a sentence of 70 months’ (5.8 years) imprisonment is
appropriate.

           I.         SENTENCING GUIDELINES

      Based on the Presentence Report (“PSR”), White’s natural Guidelines range is 87 to
108 months, based on a final offense level 27 and criminal history category III. See PSR ¶¶ 23,
35.

      The PSR concludes, however, that White is a career offender, raising his range to 151 to
188 months, based on a final offense level 29 and criminal history category VI. See PSR ¶¶ 26,
36.

           II.        “CONTROLLED SUBSTANCE OFFENSES” INCLUDE ATTEMPTS AND
                      CONSPIRACIES

       As a preliminary matter, the Court does not need to decide whether Application Note 1 to
U.S.S.G. § 4B1.2 expands the definition of “controlled substance offenses,” because, if the Court
accepts the C-plea, then a “ruling would be unnecessary” and “the matter will not affect
sentencing.” Fed. R. Crim. P. 32(i)(3)(B). The parties entered into a C-plea jointly agreeing to
recommend a 70-month sentence. Both parties have kept that agreement. And the jointly-
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recommended sentence is below both Guidelines calculations. So, if the Court believes 70 months
is appropriate under § 3553(a), even after considering both White’s natural and career-offender
Guidelines, then there is simply no need to resolve this dispute.

        In fact, even White agrees that this is the appropriate result despite what his Guidelines end
up being. See Plea Agreement ¶ 9 (agreeing that the sentence is appropriate under § 3553(a)); id.
¶ 8 (agreeing that his criminal history could alter his Guidelines from what the parties initially
contemplated). The Court should note our objections, adopt the PSR as written, and decline to
rule on the issue under Rule 32(i)(3)(B) because a decision will not affect sentencing.

        If the Court chooses to decide this dispute, then White—who acknowledges that no Fourth
Circuit case compels the legal result he urges—is wrong. 1 The Fourth Circuit continues to apply
Application Note 1 to controlled substances offenses with as equal force as the substantive text,
having done so just months ago. See United States v. Norman, 935 F.3d 232, 237 (4th Cir. 2019);
United States v. Dozier, 848 F.3d 180, 183 (4th Cir. 2017); see also United States v. McCollum,
885 F.3d 300, 304 (4th Cir. 2018) (applying Application Note 1 to “crimes of violence”).

        Nor does the Guidelines text plainly exclude inchoate offenses. For example, § 4B1.2(b)
defines “controlled substance offenses” as including the offense of “distribution.” Yet, under the
Controlled Substances Act, “distribute” means “to deliver,” and “deliver” includes “actual,
constructive, or attempted” transfers. 21 U.S.C. §§ 802(8), 802(11) (emphasis added). Since
distributions inherently include attempts, then, applying White’s logic, the Guidelines text would
include attempts while excluding them at the same time.

       Indeed, the Sentencing Commission agrees that this is the case. Responding to challenges
like White’s, the Commission confirmed that the “career offender guideline includes convictions
for inchoate offenses,” and it has proposed amendments to “alleviate any confusion.” See
Proposed Amendments to the Sentencing Guidelines, United States Sentencing Commission,
at 43–47 (Dec. 20, 2018). 2 In light of the Fourth Circuit case law as it stands, coupled with the
Commission’s efforts to eliminate these lines of attack, the Court should conclude that Application
Note 1 applies with equal force as the text.




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  The Government recognizes that the career-offender designation was not contemplated in the
plea agreement. While the Government intends to honor that agreement, it also understands the
Court’s obligation to correctly calculate the Guidelines. The Government submits this letter solely
to aid the Court in carrying out that obligation consistent with the law. The Government neither
seeks nor relies on the career-offender designation for its sentencing recommendation.
2
 Available at: https://www.ussc.gov/sites/default/files/pdf/amendment-process/reader-friendly-
amendments/20181219_rf-proposed.pdf (last accessed Mar. 11, 2020).
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       III.    SENTENCING FACTORS UNDER 18 U.S.C. § 3553(a)

       Turning to the § 3553(a) factors, the government believes the following 3553(a) factors are
most relevant in this case:

       A. Nature and Circumstances of the Offense (3553)(a)(1))

        As to the nature and circumstances of White’s offense, there is no dispute that White’s
actions of engaging in drug trafficking is serious and it is clear that there must be consequences
for his criminal activity. White admitted that throughout the course of his involvement that it was
reasonably foreseeable to him, and within the scope of the conspiracy that he or other members of
the conspiracy would distribute more than 280 grams of cocaine base (“crack”), as well as
quantities of cocaine, heroin and fentanyl during the course of and in furtherance of the conspiracy.
Furthermore, during the investigation, investigators identified White as a drug distributor for the
Montford DTO, a street-level drug trafficking “shop” located in the 400 block of North Montford
Avenue at Jefferson Street, Baltimore, Maryland. Furthermore, as detailed in the plea agreement,
on October 11, 2018, White sold crack to an undercover officer. There is no doubt, that selling
crack as well as other controlled dangerous substance is a serious offense and as such should be a
factor taken into account when considering the appropriate sentence for White.

       B. History and Characteristics of the Offender (3553(a)(1))

        The Government does not contest the career offender calculations noted by the PSR.
While, technically the PSR calculation is correct, the Government is not going to alter its 70 month
recommendation. In fact, the government believes that the enhanced career offender status based
on the 2009 probation before judgement seems like an artificial enhancement and should not be a
factor weighed against White.

         White’s only conviction stems from a 2009 felony drug distribution conviction. White
received a four year sentence of incarceration. The conviction is serious and should be included.
The government notes that White’s prior drug-trafficking, albeit minor, coupled with the current
drug trafficking offense indicate a risk to the public for future crimes by White. Because that risk
exists, the government is recommending 70 months.

        At the same time, the age of White’s past convictions is the reason why the government is
not recommending a lengthier sentence, and is actually recommending a below-guidelines
recommendation. White’s criminal history score is minimal and initially, the Government
believed that White’s criminal history category was three points, or a Category level II. If that had
been accurate, White’s guidelines would have been 78-97 months. However, the PSR calculated
both the 2009 PBJ as well as the 2009 conviction and concluded that White’s criminal history
score is a four, or a category III. ¶ 35.

        In its recommendation, the Government and White reached a resolution driven almost
entirely by the one 2009 conviction that is just shy of 10 years old. The Government believes that
the almost six-year sentence is sufficient and while not substantially more than what White
received in 2009, it is still a sufficient sentence.

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      C. The Need for the Sentence to Reflect the Seriousness of the Offense, to Promote Respect
         for the Law, to Provide Just Punishment for the Offense, to Afford Adequate Deterrence
         to Criminal Conduct and to Protect the Public from Further Crimes of the Defendant
         (3553(a)(2))

        A drug trafficking crime like this one requires a sentence that will reflect the seriousness
of the offense, deter crimes by other potential drug traffickers, and protect the public from future
such crimes by White. White should receive a substantial sentence. Prosecution in federal court
was particularly appropriate given that expansiveness of the conspiracy which indicted 24 other
defendants for their involvement in this conspiracy.

       The need for deterrence should also be considered. The government believes that White’s
conduct, in combination with his character and history, is adequately reflected by a sentence
below-guidelines and further believes such a sentence is sufficient to provide both a general
deterrent and specific deterrent effect.

       The major reason for the government’s below-guidelines recommendation is White’s
minimal criminal history and the age of his conviction. Despite the fact that he qualifies as a career
offender, a sentence of almost six years is lengthy and reasonable, and balanced in light of the
above factors. The government believes that in this particular case, it is sufficient but no greater
than necessary to achieve the required purposes of sentencing.

         The government thanks the Court for its consideration of this matter.



                                                          Sincerely,

                                                          Robert K. Hur
                                                          United States Attorney


                                                          LaRai Everett
                                                          LaRai Everett
                                                          Assistant United States Attorney


cc:      Counsel via ECF and email




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